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                                            Etan Leibovitz
                                          83-19 141st #207
                                        Briarwood, NY 11435


                                                                       November 18th, 2024

                                                                                      FILED
  Honorable Judge Lois Bloom
                                                                              Nov 18, 2024, 2:22 PM
  United States District Court
  Eastern District of New York                                                 in the Clerk's Office
  225 Cadman Plaza East                                                         U.S. District Court,
  Brooklyn, NY 11201                                                             EDNY, Brooklyn
                                                                                 Pro Se Office via
                                                                                     Box.com
                  Re: Instructions for Submission of my audio files cited in my Verified Complaint
                 (January 12th, 2022, February 16th, 2022, April 6th, 2022 Fraud Hearing, November
                 15th, 2022 audio file capturing my false arrest, October 21st, 2022 etc.) and
                 recorded phone Discussions with Assistant Attorney General Michael Berg 2024
                 CIV 4779 (AMD) (LB)

  Dear Judge Bloom,

         I am writing to request instructions on how to submit evidence related to the above-
  referenced case. Specifically, I seek guidance on the proper format and method for filing,
  including but not limited to:

            The audio recording of my false arrest on November 15th, 20221
            January 12th, 2022, February 16th, 2022, April 6th, 2022,
            October 21st, 2022, hearings before Defendant John Katsanos
            December 18th, 2023 and March 20th, 2024 Criminal Court Hearings before
            Judge Anthony Battisti, and Court Transcripts dated December 18th, 2023 and
            March 20th, 2024
            January 25th, 2023 Criminal Court
            October 24th and 26th, 2022 Discussions with Aaron Reichel 2
            February 17th, 2023 Hearing Before Judge Alan Schiff
            IRS Audio Files and Transcript Reflecting my trading algorithm made money3

         In addition, I intend to file a motion for sanctions, pursuant to FRCP 11, against Assistant
  Attorney General Michael Berg (“AAG Berg”). This motion will address:

            Misrepresentations made by AAG Berg in his motion to dismiss (See Docket Entry 23)
            False grounds provided for his request for an enlargement of time (See Docket Entry 10)

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               His office's implementation of a scheme to redirect my incoming calls to the New York
               Attorney General’s Office exclusively to AAG Berg (See Docket Entry 35)

         Today, I captured and documented a phone discussion with AAG Berg, which I plan to
  incorporate into my motion for sanctions, along with other recorded discussions with him since
  the commencement of this action. On November 12th, 2024, I emailed AAG Berg to inquire why
  my phone calls to the New York Attorney General’s Office are being directed to him. Six days
  have passed, and he has failed to address my concern. During today’s call, I directly asked him the
  same question again, but he declined to provide an answer leaving me no choice but to seek
  sanctions and another lawsuit. I have uploaded the audio file of today’s discussion to the cloud,
  making it available for public review. 4


          I respectfully request your instructions regarding the submission of these materials and any
  related procedural requirements. Thank you for your time and consideration.

                                                     Respectfully submitted,

                                                      ____/S/________

                                                      Etan Leibovitz




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